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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIR E


SUMNER BROWN, CARLA BROWN,          )
HALLIE BROWN b/f/n/f SUMNER BROWN ) Civil Action No .                    1:06-cv-63-JM


V.

FILTRINE MANUFACTURING CO ., INC . and )
ROBERT PIESCIK, PLAN ADMINISTRATOR OF)
FILTRINE MANUFACTURING CO ., INC .      )

                                         COMPLAINT

         NOW COME the Plaintiffs in the above-captioned matter, by counsel, Boynton, Waldron ,

Doleac, Woodman & Scott, P .A., and respectfully submit this Complaint, stating in suppo rt

thereof as follows :

                              1. PARTIES AND BACKGROUND

         1 . Plaintiff Sumner Brown is a resident of Swansey, State of New Hampshire and

was an employee of Defendant Filtrine Manufacturing Company, Inc . until on or about July 3,

2003 .

         2. Plaintiff Carla Brown an Hallie Brown are wife and child of the Plaintiff Sumner

Brown and are also residents of Swansey, New Hampshire .

         3. Defendant Filtrine Manufacturing Company, Inc . is, upon information and belief,

a New Hampshire corporation with a principal place of business located at 15 Kit Street, Keene,

New Hampshire.

         4. Defendant Robert Piescik is, upon information and belief, a New Hampshire

resident who works as the Plan Administrator for Defendant's health care benefits .
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                                II. JURISDICTION AND VENU E

         5. Jurisdiction is vested in this Court pursuant to 28 U .S.C. § 1331 federal question

jurisdiction .

         6. Venue is properly in this Court pursuant to 28 U .S .C. § 1391(b) and (c) .

                                       III. BACKGROUND

         7. Plaintiff Sumner Brown was an employee of and pursuant to his employment

received various benefits for himself and his dependent family members - to include health

insurance.

         8. On July 3, 2003, Plaintiffs employment with Defendant ended and pursuant to 29

U.S .C. § 1166(a)(2), Defendants were required to provide notice to Plaintiffs regarding, inter

alia, Plaintiffs' entitlement to continuation of health insurance coverage as required by

Consolidated Omnibus Budget Reconciliation Act of 1985 ("COBRA") .

         9. Defendants failed to provide Plaintiffs with the requisite statutory notice for a

period of 272 days in violation of COBRA thereby entitling Plaintiffs to commence this action

and recover damages including costs and attorneys' fees pursuant to 29 U .S.C. § 1132, et see .

         10. This action is commenced to recover damages resulting from the aforesaid

statutory violations .

                                             COUNT I
                                       (Violation of COBRA)

         11 . Plaintiffs repeat the allegations made in the preceding paragraphs and incorporat e

the allegations by reference herein and by way of further allegation state as follows :




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        12. Plaintiff and Plaintiffs dependents were covered under Defendants' health

insurance plan .

        13. On July 3, 2003, Plaintiffs employment with Defendant ended, thereby triggering

a "qualifying event" for notification by Defendants of Plaintiffs ongoing rights pursuant to

COBRA.

        14. That pursuant to COBRA, Defendants were required by statute to notify Plaintiffs

of COBRA rights within 30 days of the qualifying event . Defendants failed to provide such

notification within the requisite time period in violation of COBRA .

        15. That Defendants violated the provisions of COBRA in that Defendants failed to

provide requisite statutory notice to Plaintiffs set forth in COBRA for a period of 272 days .

        16. That Plaintiffs are each entitled to statutory damages and penalties as a result of

Defendants' violation of COBRA and failure to notify Plaintiffs of their COBRA rights for 272

days in the amounts set forth in 29 U .S.C. § 1132, et s g and the regulations promulgated

thereunder.

        17. That Plaintiffs are entitled to damages as set forth in the statute, including, but not

limited to, interest, costs and attorneys' fees for said statutory violations .

        18 . As a direct and proximate result of Defendants' statutory violation, Plaintiffs

jointly and severally demand judgment against the Defendants for statutory damages including

interest, costs and attorneys' fees .

        WHEREFORE, Plaintiffs respectfully pray this Honorable Court as follows :

        A. Schedule this matter for a trial on the merits ;




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        B. Enter judgment in favor of the Plaintiffs including statutory damages of $110 .00

per day for each plaintiff for 272 days of statutory violations, penalties, reasonable costs and

attorneys' fees ;

        C. Find that the Plaintiff is entitled to all compensatory and other damages allowe d

in law and equity, and interest, costs and attorneys' fees allowable under the law with respect to

the claims in this case ;

        D. All further relief which this Court deems just and proper .

                                               RESPECTFULLY SUBMITTED :

                                               SUMNER BROWN, CARLA BROWN,
                                               HALLIE BROWN b/f/n/f SUMNER BROWN
                                               By their attorneys :

                                               BOYNTON, WALDRON, DOLEAC,
                                               WOODMAN & SCOTT, P .A.


Dated : February 14, 2006 By : /s/ Francis X . Quinn, Jr.
                                 Francis X . Quinn, Jr ., Bar #4848
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